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            DECLARATION OF LIEUTENANT COLONEL JONATHAN S. BAKER

I, Lieutenant Colonel Jonathan Baker, hereby state and declare as follows:

                  I am the Battalion Commander for 4/39 Infantry Battalion in the 165th Infantry

Brigade.

           2.     I am generally aware ofthe allegations set forth in the pleadings filed in this matter.

This declaration is based on my personal knowledge, as well as information made available to me

during the routine execution of my official duties.

                  Private First Class (PFC) Miriam R. Perelson is a Soldier assigned to my command.

           4.     PFC Perelson is not being processed for separation.

           5.     No separation or adverse actions are pending against PFC Perelson.




Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct.

           Executed on 4 February 2025 in Fort Jackson, South Carolina.




                                                 LTC, United States Army
                                                 COMMANDER
                                                 4/39 Infantry BN, 165th Infantry Brigade
                                                 Fort Jackson, SC
